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                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT
                        CIVIL APPEAL STATEMENT OF PARTIES AND ISSUES

Case No: 22-1789                          Case Manager: Jill Colyer

Case Name: MRP Properties Co., LLC et al. v. USA

Is this case a cross appeal?     Yes        ✔No
Has this case or a related one been before this court previously?         Yes   ✔   No
If yes, state:
   Case Name:                                    Citation:
   Was that case mediated through the court’s program?         Yes    ✔
                                                                          No

Please Identify the Parties Against Whom this Appeal is Being Taken and the Specific Issues You
Propose to Raise:
MRP Properties Co, LLC
Valero Refining Co, Oklahoma
Premcor Refining Group Inc.
Ultramar, Inc.
Valero Refining Co, Tennessee LLC
Valero Refining, Texas LP

-The Supreme Court has held that, under CERCLA, a facility's operator is one who manages, directs, or conducts
operations "specifically related to pollution, that is, operations having to do with the leakage or disposal of hazardous
waste, or decisions about compliance with environmental regulations." Is regulation of a facility's general operations,
absent specific evidence of control over leakage or disposal of hazardous waste or environmental compliance, sufficient
to render an entity liable as an operator of the facility?




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This is to certify that a copy of this statement was served on opposing counsel of record this           day of
September                      2022                        Michelle Melton
                           ,          .
                                                           Name of Counsel for Appellant




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Rev. 6/08
